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22                                                               Exhibit 5
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26
     Plaintiffs’ Motion for Partial Summary Judgment   GORDON E. R. TROY PC
     Case No. 2:18-cv-00381                            183 Highfield Dr., West Windsor, VT 05089
                                                       P.O. Box 1180 Shelburne, VT 05482
                                                       (802) 881-0640/Fax: (646) 588-1962
            Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 2 of 36




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 6
             OEM License Agreement between Hyperion Entertainment CVBA and
 7
                             Individual Computers Jens Schoenfeld GMBH
 8
                                                25 February 2013
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     Plaintiffs’ Motion for Partial Summary Judgment               GORDON E. R. TROY PC
     Case No. 2:18-cv-00381                                        183 Highfield Dr., West Windsor, VT 05089
                                                                   P.O. Box 1180 Shelburne, VT 05482
                                                                   (802) 881-0640/Fax: (646) 588-1962
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                    ATTORNEYS' EYES ONLY                  HYP_002513
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                    ATTORNEYS' EYES ONLY                  HYP_002514
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                     ATTORNEYS' EYES ONLY                 HYP_002520
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                     ATTORNEYS' EYES ONLY                 HYP_002521
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                     ATTORNEYS' EYES ONLY              HYP_002521(a)
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                             OEM License Agreement – ACA Accelerators
 6
                              between Hyperion Entertainment CVBA and
 7
                             Individual Computers Jens Schoenfeld GMBH
 8
                                                  April 11, 2016
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     Plaintiffs’ Motion for Partial Summary Judgment               GORDON E. R. TROY PC
     Case No. 2:18-cv-00381                                        183 Highfield Dr., West Windsor, VT 05089
                                                                   P.O. Box 1180 Shelburne, VT 05482
                                                                   (802) 881-0640/Fax: (646) 588-1962
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                     ATTORNEYS' EYES ONLY                 HYP_002478
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 15 of 36




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                     ATTORNEYS' EYES ONLY                 HYP_002480
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                     ATTORNEYS' EYES ONLY                 HYP_002481
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 18 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002482
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 19 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002483
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 20 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002484
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 21 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002485
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 22 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002486
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                     ATTORNEYS' EYES ONLY                 HYP_002487
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                     OEM License Agreement – Commodore A1200 Reloaded
 7
                              between Hyperion Entertainment CVBA and
 8
                             Individual Computers Jens Schoenfeld GMBH
 9
                                                  April 24, 2017
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     Plaintiffs’ Motion for Partial Summary Judgment               GORDON E. R. TROY PC
     Case No. 2:18-cv-00381                                        183 Highfield Dr., West Windsor, VT 05089
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                     ATTORNEYS' EYES ONLY                 HYP_002488
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 26 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002489
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 27 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002490
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 28 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002491
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 29 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002492
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 30 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002493
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 31 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002494
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 32 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002495
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 33 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002496
Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 34 of 36




                     ATTORNEYS' EYES ONLY                 HYP_002497
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 6                 Hyperion Invoice to Individual Computers, October 24, 2017,
 7                           for License fee “as per OEM license agreement
 8                           “Buddha Controller Anniversary Edition” for:
 9               Workbench 1.3, Workbench 2.0, Workbench 2.1, Workbench 3.0
10
                                                and AmigaOS 3.1
11

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     Plaintiffs’ Motion for Partial Summary Judgment              GORDON E. R. TROY PC
     Case No. 2:18-cv-00381                                       183 Highfield Dr., West Windsor, VT 05089
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                                                                  (802) 881-0640/Fax: (646) 588-1962
      Case 2:18-cv-00381-RSM Document 101-2 Filed 03/18/21 Page 36 of 36




                                                                Klantgegevens




Hyperion Entertainment CVBA                                   Individual Computers Jens Schönfeld GmbH
Tervurenlaan 34                                               Im Zemmer 6
B-1040 Brussel                                                52152 Simmerath
                                                              Germany
VAT BE 0466-380-552
                                                              VATID: DE257081497


Factuur Nr :   2017/025                       Factuurdatum : 24/10/2017                     Vervaldatum : 23/11/2017

Omschr jving                                                                              Totaal exl BTW    Totaal incl   BTW 21%

License fee                                                                                    € 1.000,00

as per OEM license agreement “Buddha Controller Anniversary Edition” for :

Workbench 1.3, Workbench 2.0, Workbench 2.1, Workbench 3.0, AmigaOS 3.1

A2091 Install Disk

no limit on quantities produced of the Budha controller , valid for 5 years




BTW VERLEGD



                                                                              BTW         Totaal exl BTW        Totaal incl BTW

                                                                                               € 1.000,00

Wiring information:
Beneficiary: Hyperion Entertainment CVBA – Tervurenlaan 34– B-1040 Brussel
KBC BANK: Account number (IBAN): REDACTED                 – SWIFT (BIC) KREDBEBB
Paypal: paypal@hyperion-entertainment.biz




                                                ATTORNEYS' EYES ONLY                                              HYP_003205
